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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA


          v.                                      No. 17-cr-10305-ADB

 JOSEPH BAPTISTE

    and

 ROGER RICHARD BONCY,

          Defendants


                         GOVERNMENT’S MOTION FOR LEAVE
                        TO DISMISS SUPERSEDING INDICTMENT

       The United States of America, by and through its attorneys, Rachael S. Rollins, United

States Attorney for the District of Massachusetts, and Lorinda I. Laryea, Acting Chief of the Fraud

Section of the Criminal Division of the United States Department of Justice, respectfully move for

an order dismissing, with prejudice, the Superseding Indictment as to defendants Joseph Baptiste

and Roger Richard Boncy, under Rule 48(a) of the Federal Rules of Criminal Procedure.

       As grounds for this request, the government notes that, as it previously notified the Court

and the parties, on the evening of June 23, 2022, the Federal Bureau of Investigation (“FBI”)

provided to the prosecution team contemporaneous writings about the content of December 19,

2015 calls between defendant Boncy and an undercover agent that had not been previously

disclosed to the prosecution team. The government provided this information to the defense on

June 24, 2022. In light of the Court’s Rule 33 decision vacating the prior convictions, which was

affirmed on appeal, the loss of the December 19 recordings, and the belated disclosure of

communications concerning the content of the December 19 recordings, the government seeks to

exercise its discretion and dismiss the Superseding Indictment. As a result, the government is not
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seeking a retrial. Finally, the government submits that dismissal with prejudice serves the interest

of justice.

        The government has conferred with the defendants, both of whom consent to dismissal of

this case with prejudice.

Dated: June 27, 2022                                 Respectfully submitted,

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney

                                              By:    /s/Kriss Basil
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/Kriss Basil
                                                     Kriss Basil
                                                     Assistant U.S. Attorney



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